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UNITED STATES BANKRUPTCY COURT

MIDDLE DISTRICT OF FLORIDA, JACKSONVILLE DIVISION .
IN RE: fis,
Genie Investments NY, Inc., Debtor.
Case No.: 3:24-bk-00496-BA] na

Chapter 7
MOTION TO ALLOW USE OF PHONE AND COMPUTER FOR JOHN MICHAEL COHAN.DURING
SUBSEQUENT HEARING DATES AND TRIAL DATES fg SE,

COMES NOW, Movant, John Michael Cohan, specially appearing pro se, and respectfully moves
this Court for an order permitting the use of a phone and computer during all subsequent hearing
dates and trial proceedings in this matter. This request is based on the principles of due process,
the necessity of effective self-representation, and prior motions and orders already entered by this
Court, as follows:

I. BACKGROUND & LEGAL FOUNDATION

1. Movant previously filed a Motion for Reconsideration, requesting permission to use electronic
devices during court proceedings to adequately present and reference critical documents,
communications, and case materials necessary for his defense and argumentation.

2. This Court granted the Motion for Reconsideration, affirming that the ability to access electronic
case files, notes, and exhibits in real time is essential to ensuring fairness and due process in these
proceedings.

3. The Fifth and Fourteenth Amendments to the United States Constitution guarantee procedural
due process, which includes the right to meaningfully present a defense in legal proceedings. See
Mathews v. Eldridge, 424 U.S. 319 (1976) (due process requires the opportunity to be heard in a
meaningful manner).

4, The Supreme Court has emphasized the importance of providing pro se litigants reasonable
access to legal materials and the ability to fairly present their case. See Faretta v. California, 422
U.S. 806 (1975) (holding that the right to self-representation must be “unfettered by unreasonable
constraints”).

5. Under Local Rute 5073-1 of the Middle District of Florida, eiectronic devices may be permitted
upon request and court appreval in specific cases where their use is necessary for fair
proceedings.

6. The Federal Rules of Civil Procedure, Rule 1, and the Federal Rules of Bankruptcy
Procedure, Rule 1001, both emphasize the need for proceedings to be conducted in a manner that
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is “just, speedy, and inexpensive.” Restricting Movant’s access to electronic case materials would
unduly burden the fair administration of justice and slow down the proceedings.

Il. NECESSITY OF PHONE & COMPUTER ACCESS FOR DUE PROCESS

7. The ongoing complexity of this case requires real-time access to digital records, legal research,
and electronic exhibits, which cannot be sufficiently managed without the use of a computer and
phone for reference and communication.

8. Pro se litigants do not have paper-filed copies of thousands of pages of court filings and
evidentiary exhibits, nor the financial resources to print them. Denying access to electronic files
would effectively disenfranchise Movant’s ability to present his case.

9. The Bankruptcy Court for the Southern District of New York has recognized in In re Lehman
Brothers Holdings, Inc., 592 B.R. 165 (Bankr. S.D.N.Y. 2018} that restricting access to necessary
case materials places a litigant at an undue disadvantage, particularly when complex financial
issues and legal arguments are involved.

10. The Bankruptcy Code under 11 U.S.C. § 105(a) authorizes courts to issue any order necessary
to carry out the provisions of the bankruptcy code, including ensuring that all parties have an
opportunity to fairly present their case.

Ill. PRIOR COURT ACKNOWLEDGMENT OF THIS REQUEST

11. The Court has already acknowledged the necessity of this request in granting Movant's prior
Motion for Reconsideration, and extending this permission to ali subsequent hearing and trial dates
will prevent the need for redundant motions while maintaining consistency with prior rulings.
(Exhibit A)

12. The Middle District of Florida Bankruptcy Court has previously allowed electronic device
access for pro se litigants when demonstrated to be necessary for case presentation, ensuring that
self-represented parties can engage meaningfully tn tegal proceedings.

iV. NO PREJUDICE OR DISRUPTION TO THE COURT

13. Permitting Movant to use a phone and computer will not disrupt court proceedings but will
promote efficiency and clarity, allowing for a more organized and effective presentation of
arguments, including references to prior court orders, motions, and legal authorities.

14. Courts have found that restricting access to electronic devices without justification can
constitute an arbitrary barrier to self-representation, which violates principles of equal access to
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justice. See Bounds v. Smith, 430 U.S. 817 (1977) (holding that prisoners must be given access to
law libraries and materiais to prepare cases, a principle equally applicable to pro Se litigants).

15. This request is made solely for case-related purposes and will not interfere with court decorum
or proceedings.

V. REQUEST FOR RELIEF
WHEREFORE, Movant respectfully requests that this Court:

1. Grant this Motion, altowing John Michael Cohan to bring/use a phone and computer during all
future hearings and trial dates in this matter in accordance with the Order.

2. Recognize that this request aligns with the previously granted Motion for Reconsideration,
ensuring consistency with prior rulings.

3. Ensure that Movant has full access to electronic exhibits, case files, and legal research to
prevent any undue procedural disadvantage.

4, Grant such further relief as this Court deems just and proper.

Dated: March 3, 2025

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EXHIBIT A
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ORDERED.

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Jason ‘A Bulge L
United Stazés“Bankmiptcy Judge

Dated: February 20, 2025

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
In re:
CASE NO.: 3:24-bk-00496-BAJ
GENIE INVESTMENTS NV INC., Chapter 7
Debtor.

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ORDER GRANTING MOTION FOR RECONSIDERATION
This case is before the Court on the Motion for Reconsideration (the “Motion”) (Doc. No.
286) filed by interested party, John-Michael Cohan. Upon review, the Court determines that the
Motion should be granted.
Accordingly, it is ORDERED:
1. The Motion is GRANTED.
2. Mr. Cohan’s authorization to use his cell phone and laptop in the courthouse is limited
to the terms and conditions outlined in the Order of Authorization entered in

Miscellaneous Proceeding 3:25-mp-2-JAB.
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Clerk’s Office to Serve.
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Dated: February 11, 2025 oA Ee

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United S upicy Judge

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

www.fimb.uscourts.gov
In re: Misc. Pro. No. 3:25-mp-2-JAB

Possession and Use of Personal

Electronic Devices in the

Bryan Simpson United States Courthouse
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ORDER OF AUTHORIZATION

THIS CAUSE is before the Court in connection with John-Michel Cohan’s Motion for
Reconsideration of Order Denymg Motion to Allow Cell Phone and/or Computer Access to the
Courthouse in case 3:24-bk-00496-BAJ. The Court entered an order granting the Interested
Party’s motion, and therefore it is

ORDERED:

In accordance with United States District Court Middle District of Florida Local Rule

7.02(a)(2), John-Michel Cohan is permitted to bring a cellphone and a laptop into the Courthouse
on Tuesday, Febrnary 25, 2025, for use during a court hearing before the undersigned.
Mr. Cohan shall present a copy of this Order to security personnel each time he enters the

Courthouse with such equipment. Courthouse security personnel will require Mr. Cohan to present

a picture identification at the time of entry. 1 CERTIFY THE FOREGOING JO BE TRUE

AND CORRECT, COPY OF THE ORIGINAL.
UNITED STATES BANKRUPTCY COURT

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The equipment is subject to inspection at any time by Courthouse security personnel. The
equipment shall not be used to take any video or audio recordings. The equipment may not be
connected to the Judiciary’s computer network within the Courthouse.

The Clerk of the Court shall ensure a copy of this Order is provided to appropriate security

personnel and to Mr. Cohan.

Copies:

U.S. Marshal Service

Court Security Officer

Division Manager — District Court
Division Manager — Bankruptcy Court
John Michael Cohan

